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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S MOTION TO QUASH
18                                             SUBPOENA TO SPECIAL AGENT MELISSA
                      v.                       GALICIA
19
     MICHAEL JOHN AVENATTI,
20
                Defendant.
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23         Plaintiff United States of America, by and through its counsel
24   of record, the Acting United States Attorney for the Central District
25   of California and Assistant United States Attorneys Brett A. Sagel
26   and Alexander C.K. Wyman, hereby files its Motion to Quash the trial
27   subpoena to Special Agent Melissa Galicia.
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1          This Motion is based upon the attached memorandum of points and

2    authorities, the files and records in this case, the ruling of the

3    Court on August 10, 2021, and such further evidence and argument as

4    the Court may permit.

5     Dated: August 10, 2021               Respectfully submitted,

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10                                               /s/
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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2          On August 6, 2021, defendant filed a supplemental brief

3    regarding his attempt to call two special agents from the Southern

4    District of New York (“SDNY”), Deleassa Penland and Chris Harper, who

5    are not involved with the present investigation and prosecution of

6    defendant.    (CR 651.)    Defendant stated nothing in his filing -- nor

7    in Court on August 10, 2021, when arguing the issue related to their

8    testimony -- indicating that he also intended to call Special Agent

9    Melissa Galicia.     The Court ordered the subpoena to Special Agent
10   Harper quashed based on Federal Rule of Evidence 403, among other
11   bases stated in the record.       At the end of the court day, defendant
12   raised his ability to call Special Agent Galicia and stated that he
13   did not include her in his filing because she was served afterwards. 1
14         First, after Court, government counsel contacted Supervisory

15   Special Agent Dane Christiansen, Associate Division Counsel of the

16   FBI, New York Field Office, and learned that Special Agent Galicia

17   and Special Agent Harper were both served trial subpoenas on August

18   3, 2021.    Defendant included Special Agent Harper in his August 6,

19   2021, filing and knowingly chose not to include Special Agent

20   Galicia, for whatever reason.        Moreover, it appears that defendant’s

21   statements to the Court about when he served Special Agent Galicia,

22   and why she was not included in his filing, were false.

23         Second, the Court’s ruling to quash the trial subpoena for

24   Special Agent Harper would apply equally -- or more forcefully -- to

25   Special Agent Galicia.      Special Agent Galicia was not present during

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           1The government does not have the transcript at this time and
28   is paraphrasing based on its notes and memory of defendant’s
     statement.
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1    the January 9, 2020, report that defendant included as his under seal

2    Exhibit B, which the Court referenced in permitting defendant to call

3    Special Agent Penland.      Although Special Agent Harper was present

4    during that meeting, the Court quashed the subpoena regarding Special

5    Agent Harper.     The only “meetings” defendant includes relating to

6    Special Agent Galicia are: a “consent to search electronic equipment,

7    storage media or online account” by Judy Regnier, in which Special

8    Agent Penland was also a witness to Ms. Regnier’s consent; and a

9    four-page report for a meeting on January 16, 2020, in which Special
10   Agent Penland was present and wrote the report.           Special Agent Harper
11   was also present during the January 16, 2020, meeting, but the Court
12   ordered the subpoena to him quashed.         The meeting dealt with payments
13   and bills defendant and his firm had and/or paid in March 2019.
14         Finally, for all the reasons stated in the government’s August

15   8, 2021, filing (CR 667), and after undertaking the balancing

16   exercise as required in United States v. Bahamonde, 445 F.3d 1225,

17   1231 (9th Cir. 2006), this Court should quash the subpoena defendant

18   issued to Special Agent Melissa Galicia.

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